Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 1 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 2 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 3 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 4 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 5 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 6 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 7 of 8
Case 2:00-cv-01672-MJP Document 38 Filed 08/07/01 Page 8 of 8
